      Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 1 of 44




1
                                                                                4//V ^
2

3
          V-'. ./    ...


4

5

6

7

8                                       UNITED STATES DISTRICT COURT

9                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                                      U
10                                                         )
     5Wmeim LoiolVer                      Plaintiff,
n

12          vs.                                                    CASE NO.

13                                                                 EM? OYMENT DISCRIMINATION
      JesAo.                                                                  COMPLAINT
14                                        Defendant(s).

15

16   1.         Plaintiff resides at:

17              Address Mm to                          >

18              City, State & Zip Code        \t&o^D''>V .Cft
19              Phone         ^10-       -5600
20   2.         Defendant is located at:

21              Address 2C0^                           <Ve SOl ^               f)\0             ^eW
22              City, State & Zip Code                         Cft/ ^*4104
23   3.         This action is brought pursuant to Tjtle VII of the (!^ivii Rights Act of 1964 for employ
24   ment discrimination. Jurisdiction is confenjed on this Court by 42 U.S.C. Section 2000e-5.
25   Equitable and other relief is sought under 42 U.S.C. Section 2000e-5(g).
26   4.         The acts complained of in this suit concern:
27                  a.     Failure to employ me.

28                  b.     Termination of my employment.

     Form-Intake 2(Rev. 4/05)                              -1-
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 2 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 3 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 4 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 5 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 6 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 7 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 8 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 9 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 10 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 11 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 12 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 13 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 14 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 15 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 16 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 17 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 18 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 19 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 20 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 21 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 22 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 23 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 24 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 25 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 26 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 27 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 28 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 29 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 30 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 31 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 32 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 33 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 34 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 35 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 36 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 37 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 38 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 39 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 40 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 41 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 42 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 43 of 44
Case 3:21-cv-04735-EMC Document 1 Filed 06/21/21 Page 44 of 44
